     Case 8:16-cv-00249-JLS-KES Document 1 Filed 02/12/16 Page 1 of 5 Page ID #:1




1    Corinne Orquiola (SBN 226969)
     corquiola@consumerlawcenter.com
2    Krohn & Moss, Ltd.
     1112 Ocean Drive, Suite 301
3    Manhattan Beach, CA 90266
     Tel: (323) 988-2400 x298
4    Fax: (866) 861-1390
     MARY URENDA
5
                           IN THE UNITED STATES DISTRICT COURT
6                            CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
7

8
     MARY URENDA,                                 )   Case No.:
9                                                 )
                                                  )   COMPLAINT AND DEMAND FOR
10                 Plaintiff,                     )   JURY TRIAL
                                                  )
11         v.                                     )   (Unlawful Debt Collection Practices)
                                                  )
12                                                )
     LOANME, INC.,                                )
13                                                )
                                                  )
14                 Defendant.                     )
                                                  )
15

16         MARY URENDA (Plaintiff), by her attorneys, KROHN & MOSS, LTD., alleges the

17   following against LOANME, INC. (Defendant):

18                                        INTRODUCTION

19     1. Count I of Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 28 U.S.C.

20        § 227 et seq. (TCPA).

21     2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices

22        Act, Cal. Civ. Code § 1788 et seq. (RFDCPA).

23

24

25




                                        PLAINTIFF’S
                                                 - 1COMPLAINT
                                                    -
     Case 8:16-cv-00249-JLS-KES Document 1 Filed 02/12/16 Page 2 of 5 Page ID #:2



                                     JURISDICTION AND VENUE
1
       3. Jurisdiction of this Court over Counts I of Plaintiff’s Complaint arises pursuant to 28 U.S.C.
2
          § 1331, and 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the state
3
          claims contained herein.
4
       4. Defendant conducts business in the State of California thereby establishing personal
5
          jurisdiction.
6
       5. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
7
                                                PARTIES
8
       6. Plaintiff is a natural person residing in La Puente, Los Angeles County, California.
9
       7. Defendant is a business entity with a principal place of business in Anaheim, California.
10
       8. Defendant acted through its agents, employees, officers, members, directors, heirs,
11
          successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
12
                                      FACTUAL ALLEGATIONS
13
       9. In or around 2014, Defendant began constantly and continuously places collection calls to
14
          Plaintiff seeking and demanding payment for an alleged debt.
15
       10. Plaintiff’s alleged debt arose through a consumer credit transaction.
16
       11. Defendant places collection calls from telephone numbers, including, but not limited to,
17
          818-452-4840, 844-774-7368, 707-238-0105, 562-217-4568, 323-795-2517, 559-765-
18
          0059, 818-452-4840, 619-331-1912, 661-453-4403, 415-549-0681, 323-527-9037, 408-
19
          922-9081, 310-349-3148, 818-237-3285, 949-535-7615 and 714-202-9814.
20
       12. Defendant places collection calls to Plaintiff’s cellular telephone at phone number 626-
21
          826-46XX.
22
       13. Based upon the timing and frequency of Defendant’s calls and per its prior business
23
          practices, each of Defendant’s calls were placed using an automatic telephone dialing
24
          system.
25




                                         PLAINTIFF’S
                                                  - 2COMPLAINT
                                                     -
     Case 8:16-cv-00249-JLS-KES Document 1 Filed 02/12/16 Page 3 of 5 Page ID #:3




1      14. In or around 2014, Defendant began placing multiple daily collection calls to Plaintiff.

2      15. On August 20, 2015 at 8:25 a.m., Plaintiff spoke to Defendant’s female representative and

3         requested that Defendant cease placing collection calls to Plaintiff’s cellular telephone.

4      16. Plaintiff revoked any consent, express, implied or otherwise, to receive automated

5         collection calls from Defendant in the course of the telephone conversation August 20,

6         2015.

7      17. On August 26, 2015, Plaintiff spoke to “Robert” and requested that Defendant cease placing

8         collection calls to Plaintiff’s cellular phone.

9      18. Despite Plaintiff’s request to cease, Defendant continued to place multiple collection calls

10        to Plaintiff on a daily basis.

11     19. Since August 20, 2015, Defendant placed at least fifty-three (57) collection calls to Plaintiff

12        over an approximate five-month period.

13     20. Defendant called Plaintiff up to six (6) times in a single day.

14     21. Defendant did not have Plaintiff’s prior express consent to use a dialer to place these calls.

15

16                                               COUNT I

17    DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTIONS ACT

18     22. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

19        entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

20        pursuant to 47 U.S.C. § 227(b)(3)(B).

21     23. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or willful

22        violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory damages for

23        each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

24        227(b)(3)(C).

25




                                           PLAINTIFF’S
                                                    - 3COMPLAINT
                                                       -
     Case 8:16-cv-00249-JLS-KES Document 1 Filed 02/12/16 Page 4 of 5 Page ID #:4




1          Wherefore, Plaintiff, MARY URENDA, respectfully requests judgment be entered

2    against Defendant, LOANME, INC. for the following:

3      24. Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

4          to 47 U.S.C. § (b)(3)(B);

5      25. Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

6          TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

7      26. All court costs, witness fees and other fees incurred; and

8      27. Any other relief that this Honorable Court deems appropriate.

9
                                  COUNT II
10         DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
                               PRACTICES ACT
11
       28. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s Complaint as
12
           the allegations in Count II of Plaintiff’s Complaint.
13
       29. Defendant violated the RFDCPA based on the following:
14
               a. Defendant violated § 1788.11(d) of the RFDCPA by causing a telephone to ring
15
                   repeatedly or continuously to annoy the person called;
16
               b. Defendant violated § 1788.11(e) of the RFDCPA by communicating with Plaintiff
17
                   with such frequency as to be unreasonable and to constitute a harassment to
18
                   Plaintiff.
19
               c. Defendant violated § 1788.17 of the RFDCPA by failing to comply with the Fair
20
                   Debt Collection Practices, Act, 15 U.S.C. § 1692 et seq., to wit:
21
                         1. Defendant violated §1692d of the FDCPA by engaging in conduct the
22
                                natural consequence of which is to harass, oppress, or abuse Plaintiff;
23
                         2. Defendant violated §1692d(5) of the FDCPA by causing a telephone to
24
                                ring repeatedly or continuously with intent to annoy, harass, or abuse
25




                                            PLAINTIFF’S
                                                     - 4COMPLAINT
                                                        -
     Case 8:16-cv-00249-JLS-KES Document 1 Filed 02/12/16 Page 5 of 5 Page ID #:5




1                             Plaintiff.

2            WHEREFORE, Plaintiff, MARY URENDA, respectfully requests judgment be entered

3    against Defendant, LOANME, INC. for the following:

4      30. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices

5            Act, Cal. Civ. Code §1788.30(b),

6      31. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection

7            Practices Act, Cal. Civ Code § 1788.30(c), and

8      32. Any other relief that this Honorable Court deems appropriate.

9                                                  RESPECTFULLY SUBMITTED,
        DATED: February 11, 2016
10
                                                    KROHN & MOSS, LTD.
11

12
                                             By: /s/Corinne Orquiola _
13                                                  Corinne Orquiola
                                                    Attorney for Plaintiff
14

15

16                                    DEMAND FOR JURY TRIAL

17           PLEASE TAKE NOTICE that Plaintiff, MARY URENDA, demands a jury trial in this

18   case.
                                           RESPECTFULLY SUBMITTED,
19      DATED: February 11, 2016
                                                    KROHN & MOSS, LTD.
20

21

22                                           By: /s/Corinne Orquiola _
                                                    Corinne Orquiola
23                                                  Attorney for Plaintiff

24

25




                                           PLAINTIFF’S
                                                    - 5COMPLAINT
                                                       -
